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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                               MIAMI DIVISION
                   Case No. 20-24239-CIV-GRAHAM/MCALILEY

  BARBARA ALVAREZ FUENTES,

        Plaintiff,

  vs.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC,

        Defendant.
                                           /

                            SCHEDULING ORDER
               SETTING PRETRIAL CONFERENCE AND TRIAL DATES

        This cause came before the Court sua sponte.             It is hereby

        ORDERED AND ADJUDGED as follows:

        1.    The trial of this cause is set and placed on the two-week

  trial calendar beginning July 19, 2021.**

        2.    The pretrial conference will be held telephonically at

  2:00 p.m. on June 16, 2021.1

        3.    The call of the calendar will be held telephonically at

  2:00 p.m. on July 14, 2021.1

        4.    The pretrial conference and calendar call will be held

  telephonically.      No counsel shall appear in person.           Instead, all



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  WHEN JOINING THE CONFERENCE AND CALENDAR CALL, COUNSEL SHOULD BE AWARE THAT OTHER
  ATTORNEYS/CASES WILL BE ATTENDING AT THE SAME TIME. PLEASE WAIT ON THE CONFERENCE
  UNTIL JUDGE GRAHAM’S CHAMBERS’ STAFF JOINS IN AT WHICH TIME A SHORT ROLE CALL
  WILL BE TAKEN. THEREAFTER, COUNSEL WILL BE TRANSFERRED DIRECTLY TO JUDGE GRAHAM.
  PLEASE REMEMBER TO SPEAK CLEARLY AND ANNOUNCE YOUR NAME SO THE COURT REPORTER MAY
  ACCURATELY REFLECT THE CORRECT PARTY SPEAKING ON THE RECORD.
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  counsel shall appear via telephone.         The parties shall contact the

  Court as follows:

        At 2:00 P.M. on the dates referenced above for the pretrial

  conference and calendar call, counsel shall call the following

  toll-free number

               a.     1-888-684-8852,

               b.     Enter Access Code Number 3772101 followed by the #
                      sign, and

               c.     Enter Security Code Number 1316 followed by the #
                      sign. (the Access Code and Security Code Numbers
                      will remain the same for both the pretrial
                      conference and calendar call).

        5.    The trial will be held at the Wilkie D. Ferguson, Jr.

  United     States    District   Courthouse,   400   North   Miami    Avenue,

  Courtroom 13-4, Miami, Florida 33128.

        **Prior to your courthouse visit, please click here to view

  our COVID-19 Rules and Procedures.

        6.     Counsel must meet prior to the pretrial conference to

  confer on the preparation of a Joint Pretrial Stipulation. With

  respect    to     Pretrial   Stipulation   submissions   regarding    expert

  witnesses, the parties are referred to FRCP 26(a)(2).           Failure to

  file a Joint Pretrial Stipulation on or before the date set forth

  below shall be grounds for dismissal.

        7.     The Joint Pretrial Stipulation must be filed on or before

  the date set forth below and shall conform to Local Rule 16.1(e).

  The Court will not allow Unilateral Pretrial Stipulations.

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        8.   In cases tried before a jury, each party shall file a

  copy of the proposed voir dire questions on or before the date set

  forth below. In addition, the parties shall file jury instructions

  and verdict forms on or before the date set forth below.          In order

  to file jury instructions and verdict forms, the parties must do

  the following:

             (1) They shall meet to confer on the preparation of Joint

             Jury Instructions and a Joint Verdict Form.          From their

             conference, the parties shall timely file a set of

             Proposed Joint Jury Instructions and a Proposed Joint

             Verdict Form; and

             (2) To the extent that the parties cannot agree on

             certain instructions or certain portions of the verdict

             form, they may file their own set of Proposed Jury

             Instructions or a Proposed Verdict Form.

        All proposed joint and separate jury instructions and joint

  and separate verdict forms must be filed with the Court on or

  before the date set forth below.

        Each jury instruction shall be typed on a separate sheet and

  shall be drafted from the U.S. Eleventh Circuit Pattern Jury

  Instructions - Civil Cases (West) or Devitt, Blackmar's Federal

  Jury Practice and Instructions - Civil (West).

        Failure to timely file jury instructions and verdict forms as

  directed above shall be grounds for sanctions, including dismissal.



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        9.    In cases tried before the Court, each party shall file

  Proposed Findings of Fact and Conclusions of Law on or before the

  date set forth below.

        In order to file Proposed Findings of Fact and Conclusions of

  Law, the parties must do the following:

              (1) They shall meet to confer on the preparation of Joint

              Proposed Findings of Fact and Conclusions of Law.               From

              their conference, the parties shall timely file a set of

              Proposed Joint Findings of Fact and Conclusions of Law;

              and

              (2) To the extent that the parties cannot agree on

              certain Findings of Fact and Conclusions of Law, they may

              file their own set of proposed Findings of Fact and

              Conclusions of Law.

        All   proposed      joint   and    separate   Findings   of    Fact    and

  Conclusions of Law must be filed with the Court on or before the

  date set forth below.

        Proposed Conclusions of Law shall be supported by citations of

  authority.

        Failure to timely file Findings of Fact and Conclusions of Law

  as   directed     above   shall   be    grounds   for   sanctions,   including

  dismissal.

        10.   Each counsel shall provide the Court with a copy of the

  following motions and responses in Word format: (1) dispositive

  motions; (2) proposed jury instructions and verdict forms; (3)

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  proposed findings of fact and conclusions of law; and (4) proposed

  substantive orders.      The motions and responses shall be forwarded

  SEPARATELY to this Division’s NEF (Notice of Electronic Filing)

  Account.    The e-mail subject line and the name of the attachment

  should include the case number, reference the docket entry number,

  followed    by    a   short   description     of   the   attachment    (e.g.,

  xx-cv-xxxxx Order on ECF #______) to graham@flsd.uscourts.gov.

        11.   A Motion for Continuance shall not stay the requirement

  for the filing of a Joint Pretrial Stipulation and, unless an

  emergency situation arises, a Motion for Continuance will not be

  considered unless it is filed at least twenty (20) days prior to

  the date on which the trial calendar is scheduled to commence. The

  pretrial conference and trial will not be continued except upon a

  showing of exceptional need.

        12.   All   Notices     of   Conflict   shall   include   a   statement

  detailing the dates the cases were scheduled for trial.                 Under

  existing policies and agreements between the state and federal

  courts of Florida, the judge who enters the first written order

  scheduling a case for trial on a date set, has priority over the

  service of the attorney so scheduled for the date set. See Krasnow

  v. Navarro, 909 F.2d 451 (11th Cir. 1990).

        It shall be the duty of the attorneys herein to ensure that no

  other judge schedules them for a trial that impacts upon or

  conflicts with the date set forth above.           If any counsel receives

  a written notice of a trial from another judge, in either state or

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  federal court, that in any way conflicts with this trial scheduled

  setting, it is the obligation of that attorney to notify that judge

  immediately so that the judge may reschedule his or her calendar,

  thus leaving counsel conflict free for this case.

        13.   All motions for extensions of time shall be accompanied

  by a proposed order. Proposed Order/s shall be forwarded SEPARATELY

  to this Division’s NEF (Notice of Electronic Filing) Account.           The

  e-mail subject line and the name of the attachment should include

  the case number, followed by a short description of the attachment

  (e.g.,       xx-cv-xxxxx       Order        on    ECF      #_____)         to

  graham@flsd.uscourts.gov.

        14.   Counsel are reminded to comply with Local Rule 7.1(a)(3)

  and CM/ECF Administrative Procedures. Counsel shall indicate with

  specificity the manner in which reasonable efforts were initiated

  (via facsimile, e-mail or voice-mail), the dates of such efforts,

  and the number of times an inquiry and follow up on the response to

  the inquiry was sought.

        15.   A PENDING MOTION TO DISMISS SHALL NOT STAY DISCOVERY
              UNLESS THE COURT GRANTS A STAY OF RELIEF.

        16.   Non-compliance with any provision of this Order may

  subject the offending party to sanctions or dismissal.           It is the

  duty of all counsel to enforce the timetable set forth herein in

  order to insure an expeditious resolution of this cause.

        17.   Use   of   Depositions   as   Substantive   Evidence.     If    a

  deposition is to be used as substantive evidence, the party wishing

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  to do so must designate by line and page reference those portions

  in writing. The designations must be served on opposing counsel at

  least 10 days prior to the pretrial conference.              The adverse party

  shall serve and file, within three days thereafter, his objections,

  if any, to the designations, including "... other parts that in

  fairness should be considered with the part introduced..." See Fed

  R. Civ. P. 32(a)(6).

        18.   All exhibits must be pre-marked.            The Plaintiff shall

  mark its exhibits numerically with the letter “P” as a prefix.

  Defendant shall mark its exhibits numerically with the letter “D”

  as a prefix.      A typewritten exhibit list setting forth the number,

  or letter, and description of each exhibit must be submitted at the

  time of trial.      The exhibit list must be set forth in the form of

  the    Exhibit      List     found    on     this     Court’s    website        at

  www.flsd.uscourts.gov, Forms Tab, National Forms AO-187 (Exhibit

  and   Witness     list)    and   AO-187A   (Exhibit    and    Witness    List    -

  Continuation).       COUNSEL ARE DIRECTED TO ENSURE THAT A HEADER

  APPEARS ON EACH SUBSEQUENT PAGE OF THE EXHIBIT AND WITNESS LIST -

  CONTINUATION (AO-187A) REFERENCING THE COLUMNS FOR PLTF NO., DEF

  NO., DATE OFFERED, MARKED, ADMITTED AND DESCRIPTION OF EXHIBITS AND

  WITNESSES.

        19.   The    following     timetable    shall    govern   the     pretrial

  procedure in this case. This schedule shall not be modified absent

  compelling circumstances.


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        January 29, 2021             Deadline for Amended Pleadings and
                                     Deadline to effectuate service on
                                     joined parties.

        March 26, 2021               Deadline to exchange expert witness
                                     information   pursuant    to   FRCP
                                     26(a)(2).     Only   those   expert
                                     witnesses who have been properly
                                     identified and who have exchanged
                                     information in compliance with FRCP
                                     26(a)(2) shall be permitted to
                                     testify.

        April 9, 2021                Deadline to exchange rebuttal expert
                                     witness information pursuant to FRCP
                                     26(a)(2).     Only those rebuttal
                                     expert witnesses who have been
                                     properly identified and who have
                                     exchanged information in compliance
                                     with   FRCP    26(a)(2)   shall   be
                                     permitted to testify.

        May 7, 2021                  All discovery must be completed.

        May 14, 2021                 All Pretrial Motions, Memoranda of
                                     Law,   Motions  to  Strike Expert
                                     Testimony/Daubert Motions must be
                                     filed.

        May 28, 2021                 Deadline   for   all responses to
                                     motions (including responses to
                                     motions for summary judgment).

        June 4, 2021                 Deadline for all replies to motions
                                     (including replies to motions for
                                     summary judgment).

        June 11, 2021                Joint Pretrial Stipulation must be
                                     filed.

        June 25, 2021                Deadline   for   pretrial Motions in
                                     Limine.

        July 2, 2021                 Deadline for oppositions to Motions
                                     in Limine.




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         July 9, 2021                Jury Instructions and Verdict Forms
                                     or Proposed Findings of Fact and
                                     Conclusions of Law and Proposed voir
                                     dire questions.

         20.   If the case is settled, counsel are directed to inform

  the Court promptly at (305) 523-5130 and to submit an appropriate

  Order for Dismissal, pursuant to Fed.R.Civ.P. 41(a)(1). Such Order

  must    be   filed   within   fourteen   (14)   days   of   notification   of

  settlement to the Court.

         DONE AND ORDERED at Miami, Florida, this 17th day of December,

  2020.




                                     DONALD L. GRAHAM
                                     UNITED STATES DISTRICT JUDGE

  cc:    All Counsel of Record




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